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                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


-----------------------------------------------------------X
REDSTONE M&A GROUP, LLC,                                   :
                                                           :
                       Plaintiff,                          :
                                                           :   Case No. 18-cv-03659-AT
                v.                                         :
                                                           :
LASALLE CAPITAL GROUP II-A, L.P.,                          :
and LASALLE CAPITAL GROUP                                  :
PARTNERS II-A, LLC,                                        :
                                                           :
                       Defendants.                         :

                    DEFENDANTS’ POST-TRIAL SUBMISSION
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I.    Introduction

      Defendants respectfully make this submission addressing the issues identified

in the Court’s February 7, 2022 Order (Dkt. 197). Concerning the first three topics,

the trial proved that Redstone’s reasonable expectation damages are limited to the

loss of its hoped-for opportunity to participate in a transaction with Gen3 as a

consultant, meaning the loss of a finder’s fee of $150,000, or some comparable sum

based on its relatively brief work attempting to secure the transaction. Any award

beyond that would lack a reasoned basis in law or fact, erroneously “punish” LaSalle,

and provide a windfall to Redstone as though this were a case in tort. Neither the

Confidentiality Agreement’s definition of “Acquirer” nor the “Book of Wisdom”

doctrine alters the fact that the parties (LaSalle and Redstone) had no reasonable

expectation that Redstone would be paid millions of dollars simply from executing

an agreement by which Redstone shared with LaSalle information about NAVG’s

desire to acquire Gen3. There is no competent evidence that LaSalle would have

even considered paying Redstone millions merely for the opportunity to participate

in such a transaction. The evidence is the opposite. Numerous investors received

the same or similar information from Redstone yet were uniformly unwilling to offer

anything, let alone millions, to pursue the transaction. Mr. Lesovitz’s claim that

LaSalle would have done so simply because Redstone created a model projecting a

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profit—as would any model created by a broker seeking to do a deal—is unsupported

and defies common sense.

           As for the fourth topic, the law is clear that the Court may—and, based on the

evidence, should—consider Redstone’s “unclean hands” in determining whether to

award litigation expenses. Redstone engaged in a pattern of less-than-forthright

conduct with both Gen3 and LaSalle, including misrepresenting to LaSalle the nature

of its and NAVG’s relationship with Gen3. Thus, the Court should preclude any

award of litigation expenses.

II.        Argument

      A.      Issues 1-3: The trial evidence proved that Redstone’s damages (if any)
              should be limited to a $150,000 consulting fee or some other
              reasonable measure of its contemplated role and actions as a
              consultant/finder, as it represented itself to LaSalle.

           Breach of contract damages are “based upon the reasonable expectations of

the parties ex ante,” and are “measured by the amount of money that would put the

promisee in the same position as if the promisor had performed the contract.”

Duncan v. Theratx, Inc., 775 A.2d 1019, 1022 (Del. 2001).

           Redstone is a “consulting firm that provides professional services, including

deal sourcing, due diligence, fund raising, and portfolio management primarily in

the ‘micro-market’ sector.” DTX-2 ¶ 1; see also Stipulated Facts ¶ 1 (Dkt 125-6).

That is how Redstone has represented itself to this Court and, indeed, the world,
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including in its previous deals. See Day 1 Trial Tr. 85:21-86:2, 88:9-16.

      Thus, it comes as no surprise that in its first interaction with LaSalle, Redstone

described itself as a “Transaction Consultant/Advisor” working on behalf of an

unidentified “Sponsor” that was attempting to acquire a company. DTX-94 at 1, 4;

Day 1 Trial Tr. 89:9-90:16, 185:8-16, 215:4-6, 215:25-216:3. From the start, this

led Mr. Christopher to understand Redstone to be “an intermediary working with an

independent sponsor who had locked up a deal,” and that Redstone and the

independent sponsor were distinct entities. Day 3 Trial Tr. 25:9-28:4, 29:1-10,

29:18-23, 36:12-37:19.     Mr. Comer not only agreed that Mr. Christopher’s

interpretation was reasonable but, in fact, also testified that this is precisely what

Redstone and NAVG were intending to accomplish. DTX-94 at 1; Day 1 Trial Tr.

90:1-91:2. By representing themselves as distinct entities, Redstone (the consultant)

and NAVG (the independent sponsor) expected to be able to “capture [their]

respective fees accordingly.” Id. (emphasis added).

      With this understanding, LaSalle executed the Confidentiality Agreement and

Redstone provided LaSalle with a CIM and financial model, the latter identifying

the hypothetical terms of a transaction by which NAVG would acquire Gen3. DTX-

98; Day 1 Trial Tr. 146:5-148:13, 150:12-18. Redstone’s model represented that

NAVG was to earn sponsor fees, management fees, equity interests, and future

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profits from the transaction, while Redstone anticipated receiving a consulting fee

of $150,000. DTX-98 at 1; Day 1 Trial Tr. 146:5-148:13, 150:12-18, 233:3-7.

      The Court should disregard as irrelevant to Redstone’s damages Mr. Comer’s

and Mr. Igherighe’s self-serving testimony that Redstone and NAVG supposedly

had an oral agreement to split all deal proceeds evenly.

      First, Mr. Comer and Mr. Igherighe are sophisticated parties who knew how

to draft and enter into a written proceeds-sharing agreement. Indeed, Mr. Comer

touted “airtight” agreements as integral to his business. Day 1 Trial Tr. 41:22-25,

78:8-11. So, if such an arrangement existed, Mr. Comer’s own testimony suggests

that it would have been in writing. Yet, Mr. Comer could not point to any written

agreement between the two. Id. at 99:15-101:1. Instead, Mr. Comer claimed: “There

was never a reason to . . . codify [the arrangement] on paper . . . . [W]e didn’t have

to do that.” Id. at 100:14-21. That testimony strains credibility, and this Court

should not simply “take [Mr. Comer’s and Mr. Igherighe’s] word” for it. Id. at

101:19-22. 1



1 Mr. Comer also testified that Redstone and NAVG had split proceeds on four or
five deals preceding the Gen3 transaction. Day 1 Trial Tr. 100:17-21. If such
splitting had occurred, surely there would exist documents supporting that claim—
if not written agreements, then at least, for example, bank transfer statements. Yet
Plaintiff failed to offer any documentary evidence illustrating the splitting of
proceeds for any such previous deals.
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      Second, even if such an arrangement were in place, Mr. Comer conceded that

no one but he and Mr. Igherighe were aware of its existence. Id. at 101:24-102:16.

LaSalle did not know. Id. at 101:24-102:2. Because contract damages depend on

the reasonable expectations of the parties, not upon the undisclosed, subjective

expectations of the injured party alone, any secret arrangement between Redstone

and NAVG is irrelevant to the question of damages. Cf. Am. Fin. Corp. v. Comput.

Scis. Corp., 558 F. Supp. 1182, 1185 (D. Del. 1983) (“[A]llow[ing] the unilateral

intent of one party to [control the question of reasonable expectations] would thwart

the power that contracting parties should have to control their legal relations,

particularly in a commercial setting.”).

      1.     Issue 1: Confidentiality Agreement’s use of the term “Acquirer”
             does not affect the parties’ reasonable expectations.

      There is no coherent and consistent way to interpret the term “Acquirer” as

used in the Confidentiality Agreement, let alone an interpretation compelling the

conclusion that LaSalle expected Redstone to be the literal “acquirer” of Gen3.

Certainly, a single confusingly worded term should not be used as a “form over

substance” basis to transform the nature of the Agreement and Redstone’s

relationship with LaSalle from that of consultant/finder and potential investor to that

of strategic buyer and potential investor. When first used in the opening sentences

of the Agreement, the term “Acquirer” refers to a third-party “affiliate” of Redstone,
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not Redstone itself, although “affiliate” is not defined. DTX-96 at 1. Elsewhere,

“Acquirer” seems to refer to Redstone. See, e.g., id. (“[C]ertain oral and written

information concerning the Target . . . will be obtained from the Acquirer.”). Mr.

Igherighe’s trial testimony sows more confusion on this point. He testified that he

understood the term to encompass Redstone, NAVG, Sett & Lucas, LaSalle, and

“any of the other people that [would be] involved in getting the transaction done.”

Day 1 Trial Tr. 178:24-179:12, 183:23-184:2, 200:18-19.            That reveals the

impossibility of using this confusing term as a definitive basis on which to determine

the parties’ reasonable expectations. It would have LaSalle paying damages based

not only on compensation that Redstone never hoped to earn for itself—such as

NAVG’s hoped-for independent sponsor fees and equity—but also compensation

for third parties who did not even know about the Confidentiality Agreement or the

prospect of a deal with Gen3. That makes no sense. See Osborn ex rel. Osborn v.

Kemp, 991 A.2d 1153, 1160 (Del. 2010) (interpretations that create absurd results

should be avoided). Mr. Igherighe’s testimony confirms that he did not reasonably

expect the Confidentiality Agreement’s use of the term “Acquirer” to define his or

LaSalle’s expectations for what Redstone—the only party with standing to recover




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damages in this case—reasonably anticipated earning from the execution of the

Agreement.

      2.     Issue 2: The “Book of Wisdom” should not be read under these
             circumstances.

      Although Delaware courts have considered post-breach evidence in

measuring breach-of-contract damages, such evidence may only be considered to

determine the parties’ reasonable expectations at the time of breach. See Siga Techs.,

Inc. v. PharmAthene, Inc., 132 A.3d 1108, 1133 (Del. 2015) (court properly “limited

the use of [post-breach] evidence to the parties’ expectations, and ‘in all other

respects’ determined that the post-breach evidence was ‘irrelevant’ to measure

expectation damages”); PharmAthene, Inc. v. Siga Techs., Inc., 2014 WL 3974167,

at *9 (Del. Ch. Aug. 8, 2014) (same); Comrie v. Enterasys Networks, Inc., 837 A.2d

1, 17 (Del. Ch. 2003) (same).

      Within this framework, the “Book of Wisdom” is inapplicable to the

assessment of Redstone’s expectation damages. The reasonable expectations of the

parties, based on Redstone’s representations to LaSalle, were that Redstone would

receive a consulting fee as part of a Gen3 transaction, not a share in future profits or

an equity interest in Gen3. See supra II.A. It follows that the profitability of a future

Gen3 transaction has no use in determining reasonable expectations as of the date of

the breach, and in all other respects such post-breach evidence is irrelevant.
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      3.     Issue 3: There is no competent evidence that LaSalle would have
             agreed to pay Redstone a seven-figure sum merely for the
             opportunity to pursue a transaction with Gen3.

      Mr. Lesovitz testified that LaSalle would have paid between $3.2 and $5.5

million for Redstone’s CIM in a hypothetical negotiation, based in part on Mr.

Lesovitz’s supposition that LaSalle would be gaining the opportunity to pursue a

profitable deal, according to Redstone’s financial model. Day 2 Trial Tr. 75:10-20,

76:12-20, 125:14-21, 134:18-135:8. There is no evidence to support Mr. Lesovitz’s

speculation about LaSalle’s hypothetical behavior, which defies common sense.

      To support his opinion, Mr. Lesovitz cited LaSalle transactions where it made

no money or less than Redstone projected the Gen3 deal to be worth. Id. at 52:23-

53:6, 147:11-22, 150:9-151:4. But that only proves why LaSalle never would have

paid a substantial sum just for the opportunity to pursue a deal—LaSalle knew from

past experience that no deal is guaranteed to succeed. Id. LaSalle could just as easily

lose money as make it. Surely, those other deals in which LaSalle lost money were

also projected to be profitable. Having lost or made no money on past deals, it would

have been irrational for LaSalle to jeopardize its return on a potential deal with Gen3

by fronting millions of dollars just for the chance to pursue that deal.

      Mr. Lesovitz baldly asserted that “[t]his is how deals are done all the time in

th[e] investment space in terms of private equity,” id. at 134:25-135:8, though he

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was not qualified as a “private equity” expert and did not cite a single example of

anything like what he claims LaSalle would have done—not by LaSalle or any other

private equity firm. His testimony is ungrounded speculation, and, as shown below,

the evidence proved the opposite.

             a.     The Gen3 transaction inherently came with risks.
      The CIM was a “marketing document prepared by [Redstone] to make [Gen3]

look . . . as good as possible.” Day 3 Trial Tr. 20:17-23. By Mr. Igherighe’s own

admission, it lacked sufficient information for an investor to decide to invest in

Gen3, let alone decide to pay for the chance to do so. Day 1 Trial Tr. 221:17-222:9.

Mr. Igherighe thus effectively conceded that LaSalle never would have agreed to

pay Redstone based on the CIM alone. Id. at 222:6-9; Day 3 Trial Tr. 14:4-7, 20:11-

16. That is sufficient to refute Mr. Lesovitz’s claim. And, rather than blindly relying

on Redstone’s model, LaSalle would have conducted its own diligence, including

hiring an accounting advisor, an insurance diligence firm, and legal counsel;

conducting an industry study; and having multiple discussions with management,

only after which could LaSalle have finalized any investment decision. Day 3 Trial

Tr. 20:17-21:16, 46:19-47:19, 78:1-19; Day 1 Trial Tr. 222:3-9.

      And even then, if convinced it was worth pursuing a transaction with Gen3,

LaSalle still would know that success was uncertain. Mr. Comer acknowledged that

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most deals come with risk and that there is never a guarantee that a deal will succeed.

Day 1 Trial Tr. 154:16-24, 155:11-156:6.        Thus, although the Gen3 deal had

potential upside, there was also a risk that it could be a huge loss for many reasons,

including an uncertain market, risk of disintermediation by bigger players, Gen3’s

recent loss of a major customer, and reliance on senior management. Id. at 51:25-

52:3, 66:18-67:5, 114:22-115:2, 124:14-22, 157:5-7, 206:20-208:22; DTX-55; Day

3 Trial Tr. 203:5-10. The evidence is undisputed that Redstone struggled to find

interested investors and sent its financial model to numerous other private equity

firms, none of which offered a single cent to pursue the transaction. Day 1 Trial Tr.

114:4-6, 124:14-23; Day 2 Trial Tr. 134:14-17, 138:20-24. Mr. Lesovitz has no

explanation for that incongruity. But the explanation is obvious: no rational investor

would pay millions of dollars just for the opportunity to invest millions more, all of

which could be lost.

             b.     Financial projections aside, Redstone’s options were limited,
                    while LaSalle could always invest elsewhere.

      Critical to any valuation of Redstone’s non-circumvention right: both

Redstone and LaSalle knew there was no chance that Gen3 would have completed a

deal if Redstone were involved. DTX-7; DTX-30; DTX-130; Dkt. 183-1 at 28:21-

29:19, 30:2-22, 51:17-52:2; Dkt. 183-2 at 73:5-17, 92:16-94:7, 140:10-141:19; Day

3 Trial Tr. 79:6-10. As a result, in a hypothetical negotiation, Redstone’s options
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were (i) to accept whatever LaSalle was willing to pay Redstone or (ii) take nothing

at all in relation to Gen3, while LaSalle’s options were (i) to pay Redstone an amount

that made sense for the opportunity to participate in a transaction with Gen3, not

knowing what the future would hold or (ii) simply walk away and invest its money

elsewhere, as it had done many times before and would do again in the future. Day

3 Trial Tr. 157:10-159:21, 166:12-167:13, 201:6-202:20. It is flatly contrary to

common sense that, in such a negotiation, Redstone would have demanded a seven-

figure payout or else accept nothing, or that LaSalle would have agreed to pay such

an excessive amount rather than simply make a different investment.

   B.      Issue 4: The Court may consider Redstone’s conduct in deciding
           whether to award litigation expenses under O.C.G.A. § 13–6–11 and
           should deny Redstone’s claim because of its dishonest conduct.

        Whether or not the evidence establishes LaSalle acted in bad faith—and it

does not—Redstone’s misconduct precludes recovery of its litigation expenses

under O.C.G.A. § 13–6–11. See Crotty v. Crotty, 219 Ga. App. 408, 411 (1995)

(“When a party seeking attorney fees has engaged in bad faith or stubborn

litigiousness, or has caused unnecessary trouble and expense, such factor may be

considered by the trial court and will … constitute some evidence to support a denial

of the request for attorney fees.”) (affirming denial of litigation expenses because of

movant’s misconduct); In re Flyboy Aviation Props., LLC, 525 B.R. 510, 530

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(Bankr. N.D. Ga. 2015) (same); see also King v. Edwards, 559 F. Supp. 75, 98–99

(N.D. Ga. 1982) (discounting fee claim because of plaintiffs’ unclean hands).

Redstone intentionally made material misrepresentations to entice LaSalle to sign

the Confidentiality Agreement for a deal that neither Redstone nor NAVG had any

hope of closing and engaged in other misconduct that warrants denial of its claim

for litigation expenses.

      1.     Redstone misled LaSalle about the status of the Gen3 opportunity
             to induce LaSalle into signing the Confidentiality Agreement.

      By the time Mr. Igherighe contacted Nick Christopher on June 30, 2017,

NAVG’s LOI with Gen3 had expired, Gen3 no longer had any obligation to transact

with NAVG, and Redstone and NAVG had failed in their effort to line up an

interested equity investor. DTX-12 at 5-6; DTX-30; Stipulated Facts ¶ 17 (Dkt. 125-

6); Day 1 Trial Tr. 104:13-16, 124:14-22; Dkt 183-2 at 140:10-141:5. Even so, Mr.

Igherighe represented to LaSalle that Redstone represented an independent sponsor

(NAVG) in a live deal and was expecting two term sheets from potential investors

within the next week. DTX-94 at 1; Day 1 Trial Tr. 212:1-4. Mr. Igherighe clearly

intended for his email to create a sense of urgency about competition among

investors for the ability to participate in the Gen3 deal. Day 1 Trial Tr. 212:12-16.

      Redstone was unable to provide any evidence supporting its representations

to LaSalle. Despite agreeing that term sheets are a “notable step in an investment
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process,” Mr. Igherighe could not identify any investors referenced in his email. Day

1 Trial Tr. 211:4-18, 212:24-213:15, 214:6-20. Indeed, before Mr. Igherighe’s email

to LaSalle, four potential investors had rejected the deal without providing, or even

mentioning, term sheets. Day 1 Trial Tr. 112:3-22, 189:18-190:3, 202:18-203:1,

204:18-24, 205:9-19; DTX-49; DTX-50; DTX-142; DTX-143. 2 A fifth potential

investor rejected the deal without providing a term sheet shortly after Mr.

Igherighe’s email. Day 1 Trial Tr. 209:2-23; DTX-54. Redstone presented no

documentary evidence of any term sheets or that Mr. Igherighe truly expected any.

      As intended, Mr. Igherighe’s misrepresentations led Mr. Christopher to

believe he needed to move quickly. Day 3 Trial Tr. 30:11-32:13, 37:22-38:13.

Moreover, Mr. Igherighe’s misrepresentations led Mr. Christopher to believe the

independent sponsor had the deal under LOI and had exclusivity over the deal. Day

3 Trial Tr. 34:8-15, 39:5-12. Thus, Redstone relied on false pretenses to generate

enough interest for LaSalle to sign the Confidentiality Agreement.

      2.     Redstone provided a CIM with material misrepresentations to keep
             persuading LaSalle to pursue a deal Redstone could not deliver.

      Redstone’s misrepresentations about the investment opportunity continued in



2Redstone and NAVG made similar misrepresentations to Gen3 about the status of
their capital-raising efforts. Compare DTX-45, DTX-50, with DTX-51; DTX-52;
Day 1 Trial Tr. 117:1-118:25.
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the CIM it provided to LaSalle.

      First, Redstone’s CIM misrepresented that the independent sponsor had the

opportunity under LOI, when in fact the LOI had expired. DTX-97 at 15; Day 1

Trial Tr. 234:13-18, 235:3-6; DTX-12 at 5-6; Stipulated Facts ¶ 17 (Dkt 125-6). The

existence of an LOI conveys important information, including that substantial

progress has been made on a deal and the sender of the LOI has rights in the deal.

Day 1 Trial Tr. 235:9-21. Yet, Mr. Igherighe never disclosed that NAVG’s LOI

with Gen3 had expired. Day 3 Trial Tr. 40:11-17.

      Second, the Redstone CIM represented that the independent sponsor had

“built an excellent relationship with management.” DTX-97 at 15. In fact, NAVG

and Redstone had caused the relationship with Gen3 management to deteriorate to

the point where Mr. Cantos was “having a difficult time sleeping at night” because

of the prospect of partnering with Redstone and NAVG, and Mr. Tabasso was

“counting down the days until the expiration of the LOI.” Dkt. 183-1 at 28:21-29:19,

40:12-41:3; Dkt. 181-1 at 97:1-23.

      Third, the Redstone CIM represented that Gen3 was looking for a partner to

implement Redstone’s investment thesis of transforming Gen3 into an affiliate

network ratings service. DTX-97 at 15. In reality, Gen3 management had shown

no interest in that idea. DTX-29; Dkt. 183-1 at 31:3-32:11; Dkt. 181-1 at p. 73, l.

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24–p. 75, l. 22. 3   Far from it—Gen3 did not fully understand and strongly

disapproved of the idea. Dkt. 183-1 at 28:21-29:19, 30:2-22; Dkt. 183-2 at 73:10-

17. Redstone nonetheless told LaSalle that Gen3 was ready to implement it. Day 1

Trial Tr. 239:21-240:19. These misrepresentations masked the fact that Redstone

was marketing a deal it had no hope of delivering.

       Redstone also misappropriated information from the Sett & Lucas CIM to

prepare the Redstone CIM without crediting Sett & Lucas, and Mr. Igherighe

instructed his assistant to do the same. DTX-92; Day 1 Trial Tr. 198:22-200:12,

200:21-201:1. No NDA between Redstone and Sett & Lucas authorizing the use of

Sett & Lucas confidential information is in evidence.

       Allowing Redstone to recover its expenses would award a benefit reserved for

exceptional cases to a litigant who engaged in bad faith by enticing LaSalle to sign

the Confidentiality Agreement under false pretenses. Redstone’s unclean hands

negate any award of litigation expenses. In re Flyboy, 525 B.R. at 530.

III.   Conclusion

       LaSalle appreciates the Court’s consideration of this submission and remains

willing to address any additional issues as the Court believes would be helpful.


3Because transcript page numbering is inconsistent in the Designated Deposition
Testimony of Prabhu Antonty (Dkt. 181-1), citations are to the document page
number and transcript line.
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Dated: March 1, 2022                     Respectfully submitted,
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                      CERTIFICATION OF FONT SIZE

      Pursuant to L.R. 7.1D, N.D. Ga., I hereby certify that this brief is prepared

using the 14 point Times New Roman font approved in L.R. 5.1C, N.D. Ga.

      This 1st day of March, 2022.

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                         CERTIFICATE OF SERVICE

      This is to certify that on March 1, 2022, a copy of the foregoing Defendants’

Post-Trial Submission was electronically filed with the Clerk of the Court using the

Court’s CM/ECF system, which will automatically serve all counsel of record.


                                      /s/ Joseph L. Motto
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